             Case 22-33553 Document 206 Filed in TXSB on 03/08/23 Page 1 of 2
                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                                                                                                         March 08, 2023
                          IN THE UNITED STATES BANKRUPTCY COURT                                        Nathan Ochsner, Clerk
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    ALEXANDER E. JONES,                                              ) Case No. 22-33553 (CML)
                                                                     )
                              Debtor.                                )
                                                                     )

                    ORDER GRANTING EMERGENCY MOTION TO COMPEL
                       DEBTOR’S COMPLIANCE WITH 11 U.S.C. § 521

             Upon the motion (“Motion”)1 of the Official Committee of Unsecured Creditors (the

“Committee”) appointed in the above-captioned chapter 11 case (this “Chapter 11 Case”) of

Alexander E. Jones (“Jones” or the “Debtor”), pursuant to sections 105(a) and 521 of title 11 of

the United States Code (the “Bankruptcy Code”), to compel Jones to comply with Bankruptcy

Code § 521 and Rule 1007 of the Federal Rules of Bankruptcy Procedure; and the Court having

found that the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and

the Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the

Court having found that the relief requested in the Motion is in the best interests of the Debtor’s

estate, its creditors, and other parties in interest; and appropriate notice having been provided under

the circumstances of the Motion and the opportunity for a hearing on the Motion, and that no other

or further notice is required; and the Court having determined that the legal and factual bases set

forth in the Motion establish just cause for the relief granted herein; and after due deliberation and

sufficient cause appearing therefor, it is hereby ORDERED THAT:




1
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
        Case 22-33553 Document 206 Filed in TXSB on 03/08/23 Page 2 of 2




       1.      The Motion is GRANTED as set forth herein.

       2.      The Debtor is ordered to file amended Schedules and Statements that are complete

and accurate by March 30, 2023 at 12:00 PM [CT].

       3.      The Debtor is ordered to instruct all entities, including, but not limited to, trustees,

banks, asset managers, assistants and other professionals with information relevant to the

Schedules and Statements to provide unrestricted access to such information to BlackBriar

Advisors, LLC.

       4.       XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX
               The Debtor shall include a sworn declaration by March 24, 2023 that describes for

XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX
each item on the amended Schedules and Statements where the Debtor has

XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX
(i) checked the box for “No” or information required to answer a question is left blank or (ii) the

 XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX
value or description of an item is listed as “unknown” or “TBD” or the equivalent: (a) any efforts

 XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX
to obtain the relevant information; (b) the date of any request to obtain the relevant information;

 XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX
(c) the response to any such request; and (d) the reason the information or value cannot be

 XXXXXXXXXXXXX
ascertained or estimated.

       5.      If the Debtor fails to timely file amended Statements and Schedules that are

complete and accurate, the Court may enter an order to show cause why Debtor should not be

sanctioned.

       6.      This Court shall retain sole and exclusive jurisdiction with respect to the automatic

stay and its application to any actions other than those expressly provided for in this Order.

Dated: ____________, 2023

            August
            March 08,02, 2019
                      2023




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